Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 1 of 55




                              IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


   ADAM THOR, et al,                                  CASE NO. 1:24-cv-23772-PCH

            Plaintiffs,
   v.                                                 Hon. Paul C. Huck

   FRONTIER AIRLINES, INC.,

          Defendant.
   ___________________________________/

        DEFENDANT FRONTIER AIRLINES, INC.’S MOTION TO DISMISS WITH
                         MEMORANDUM OF LAW

         Defendant, Frontier Airlines, Inc. (“Frontier”), by its undersigned counsel, moves to

  dismiss Plaintiffs’ Complaint at Law pursuant to Federal Rules of Civil Procedure 12(b)(6), and

  in support thereof states as follows:

                                      I.    INTRODUCTION

         Plaintiffs Adam Thor and Travis Foster (“Plaintiffs”) filed a Complaint alleging that

  Frontier removed them from their original flight and transported them on a later flight. They

  attempt to bring claims for deceptive or misleading practices pursuant to Florida state law, breach

  of contract, fraudulent misrepresentation, and racial/religious discrimination pursuant to the

  Florida Civil Rights Act. Plaintiffs’ claims, however, are barred by the application of the Montreal

  Convention. Alternatively, Plaintiffs fail to plead sufficient facts to support their state law causes

  of action. Because Plaintiffs cannot plead viable claims under any circumstances, the Court should

  dismiss their Complaint with prejudice.
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 2 of 55




                                      II.    BACKGROUND

         Plaintiffs’ first claim alleges deceptive or misleading practices in violation of Florida’s

  Deceptive and Unfair Trade Practices Act (“FDUTPA”), for engaging “in conduct of

  unconscionable acts or practices in a manner which was materially deceptive and misleading . . .”

  (See Plaintiffs’ Complaint at p. 6, attached as Exhibit A). Plaintiffs’ second claim alleges that

  Frontier committed a breach of contract by having “represented a specific flight time and date and

  then after the purchase of the ticket this time changed forcing the Plaintiff’s (sic) to be stuck with

  that new time frame with no other options.” Id. at 7. Their third claim alleges fraudulent

  misrepresentation, asserting that Frontier “induc[ed] the Plaintiffs to purchase tickets and

  throughout the contractual relationship…made numerous representations that were materially

  false…having a flight attendant lie to a pilot…and having a second flight attendant participant

  (sic) in the same misrepresentations.” Id. at 8. Finally, Plaintiffs claim that Frontier violated the

  Florida Civil Rights Act by discriminating against them based on religion and race. Id. at 9.

         In support of their claims, Plaintiffs allege that on November 2, 2023, Plaintiffs purchased

  tickets for air transportation from Guatemala City (GUA) to Miami, Florida (MIA), scheduled to

  depart on January 11, 2024, at 1:57 pm and arrive at 5:34 pm. Id. at 2. Later that same month,

  Frontier rescheduled the departure time to 2:23 am and arrival time to 6:02 am. Id. After boarding

  their originally scheduled flight, Plaintiffs engaged with several passengers, as well as flight

  attendants. Id. As the aircraft was taxiing prior to takeoff, and after all passengers were required

  to fasten their seatbelts (14 CFR 91.517), a flight attendant approached Plaintiff Thor and asked

  him to fasten his seatbelt. Id. at 3. Plaintiff Thor responded facetiously that he “didn’t know how

  to put on the seatbelt and needed help.” Id. At that point, the flight attendant walked away to seek

  the assistance of another flight attendant. Id. When the senior flight attendant approached the




                                                    2
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 3 of 55




  Plaintiffs, she addressed Plaintiff Foster and asked if Plaintiffs were going to be a problem during

  the flight. Id. Plaintiff Thor stated that “we won’t be a problem, and everything is fine.” Id. The

  flight attendant then informed Plaintiffs that she had been notified that they were refusing to put

  their seatbelts on and were bothering other passengers. Id. The situation escalated, and Plaintiffs

  accused the flight attendant of discrimination, while the flight attendant accused Plaintiffs of

  threatening her. Id. at 4.

          The aircraft then taxied back to the gate and agents asked Plaintiffs to exit the aircraft. Id.

  at 4-5. After deplaning, Plaintiffs were questioned about the incident, and they were informed that

  a flight attendant had requested that the flight return to the gate for Plaintiffs’ removal. Id. at 5.

  While being questioned in the gate area, the flight departed without Plaintiffs. Id. Once questioning

  ended, Frontier re-booked Plaintiffs on the next flight to their destination at no charge, which

  departed at 2:21 am the following morning. Id. Plaintiffs ultimately boarded their replacement

  flight and were successfully transported to their destination without any issues. Id. at 6.

                                   III.    LEGAL STANDARD

          A defendant may move to dismiss for “failure to state a claim upon which relief can be

  granted.” Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, “a complaint must contain

  sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). However, “a plaintiff’s obligation to provide the

  grounds of his entitlement to relief requires more than labels and conclusions, and a formulaic

  recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 555 (2007). “Nor does a complaint suffice if it tenders naked assertions devoid of further

  factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citations omitted). The

  federal pleading standard demands more than an unadorned, the-defendant-unlawfully-harmed-me




                                                    3
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 4 of 55




  accusation. Twombly, 550 U.S. at 555. The factual allegations must go beyond the sheer possibility

  that a defendant has acted unlawfully. Id. at 557.

                                       IV.     ARGUMENT

         As pro se litigants, Plaintiffs’ pleadings “are held to a less stringent standard than pleadings

  drafted by attorneys and will, therefore, be liberally construed.” Tannenbaum v. United States, 148

  F.3d 1262, 1263 (11th Cir. 1998). However, this does not authorize a court to “serve as de facto

  counsel for a party, or to rewrite an otherwise deficient pleading in order to sustain an action.”

  Trimble v. Fort Valley State Univ., 2024 U.S. App. LEXIS 7063, at *8 (11th Cir. 2024). Like any

  other litigant, a pro se plaintiff must meet the pleading standards of FRCP Rule 8 and the

  plausibility standard of Twombly and Iqbal to avoid dismissal under Rule 12(b)(6). Id. at *9.

  A.     Plaintiffs’ claims are barred by the Montreal Convention.

         The Montreal Convention governs the rights and liabilities of air carriers in “persons,

  baggage, or cargo.” Convention for the Unification of Certain Rules for International Carriage by

  Air (hereinafter “Montreal Convention” or “Convention”), Art. 1(1), May 28, 1999, S. Treaty Doc.

  No. 106-45, 2242 U.N.T.S. 350. The treaty is controlling when the plaintiff engages in

  “international carriage,” which is defined as: “any carriage in which . . . the place of departure and

  the place of destination, whether or not there be a break in the carriage, are situated either within

  the territories of two States Parties, or within the territory of a single State Party if there is an

  agreed stopping place within the territory of another State, even if that State is not a State Party.”

  Id. at Art. 1(2). The Montreal Convention is the sole grounds for carrier liability in such

  circumstances when the claim involves death, bodily injury, damage to passenger baggage, or

  damage associated with a delay in the air carriage of passengers, even if the claims are not

  cognizable (i.e., even if they do not satisfy the conditions for liability) under the




                                                    4
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 5 of 55




  Convention. See El Al Israel Airlines, Ltd. v. Tsui Yuan Tseng, 525 U.S. 155, 161, 119 S. Ct. 662,

  142 L. Ed. 2d 576 (1999); Cavalieri v. Avior Airlines C.A., 2022 U.S. Dist. LEXIS 242573, at *15-

  16 (S.D. Fla. Nov. 14, 2022).

         Here, Plaintiffs attempt to bring state law claims related to their international flight from

  Guatemala City, Guatemala to Miami, Florida. All of their claims, however, are preempted by the

  Montreal Convention. See Carias v. Am. Airlines, Inc., 2023 U.S. Dist. LEXIS 178680, *11-12

  (S.D.Fla 2023)(recognizing that the Eleventh Circuit has enforced the Montreal Convention’s

  preemptive effect by dismissing the state-law claims of international-air plaintiffs). In applying the

  Montreal Convention, Plaintiffs cannot recover under Article 19 because they allege only non-

  economic damages, which are not recoverable pursuant to a delay claim. See AGC, LLC v.

  Centurion Air Cargo, Inc., 2015 U.S. Dist. LEXIS 127496, *6-7 (S.D. FL 2015). Additionally,

  they cannot recover under Article 17 of the Convention because their claims do not arise out of an

  “accident,” and they allege purely emotional distress injuries, which are not recoverable under

  Article 17. Finally, Plaintiffs’ punitive damages claims are explicitly barred by Article 29 of the

  Convention.

         1.      Article 19

         Courts have routinely held that claims based on an airline’s removal of a passenger from

  an international flight sounds in delay within the scope of Article 19 of the Montreal Convention.

  See In re Nig. Charter Flights Contract Litig., 520 F. Supp. 2d 447, 453 (E.D. NY 2007). Article

  19 of the Convention states that “[t]he carrier is liable for damage occasioned by delay in the

  carriage by air of passengers, baggage or cargo. Nevertheless, the carrier shall not be liable for

  damage occasioned by delay if it proves that it and its servants and agents took all measures that

  could reasonably be required to avoid the damage or that it was impossible for it or them to take




                                                    5
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 6 of 55




  such measures.” Montreal Convention, Art. 19. While economic damages constitute a legally

  cognizable harm for delay, damages for emotional distress such as mental anguish, humiliation,

  etc., are barred from recovery under Article 19. Campbell v. Air Jam., Ltd., 760 F.3d 1165, 1170

  (11th Cir 2014); Daniel v. Virgin Atlantic Airways, Ltd., 59 F. Supp. 2d 986, 992 (N.D. Cal. 1998);

  Lee v. Am. Airlines, Inc., 2002 U.S. Dist. LEXIS 12029, at *11 (N.D. Tex. 2002); Barrett v. United

  Airlines, Inc., 1994 U.S. Dist. LEXIS 10904, at *3 (N.D. Ill. 1994).

           In Daniel, the plaintiffs filed a complaint against the defendant airline for damages

  resulting from a 25-hour delay on an international trip from London to San Francisco. Id. at 987.

  The airline arranged for the plaintiffs to fly the next day to their destination. Id. The plaintiffs

  brought suit stemming from their alleged “anxiety, exhaustion, frustration, humiliation,

  inconvenience, mental anguish and physical discomfort,” resulting from their delay. Id. at 992.

  The court, however, denied recovery, reasoning that no plaintiffs alleged any economic injuries

  arising from the delay. Id. Further, the court held that mere delay alone is not a cognizable harm,

  and that when a passenger simply arrives late at their destination, there is no required

  compensation. Id. at 993.

           Plaintiffs in the present case bring state law claims that are all based in supposed injuries

  resulting from their removal from a flight and the subsequent delay of their arrival at their

  destination. As in Daniel, Plaintiffs’ claims stem from a delay in their transportation or carriage to

  their destination. Further, like in Daniel, Plaintiffs here cannot recover because they seek damages

  for purely emotional distress injuries associated with the delay in their transportation1. (See

  Complaint at pp. 6-9) (alleging emotional distress, humiliation, lack of respect, and



  1
    Plaintiffs’ vague allegations that they expended funds for tickets and incurred unforeseen fees lack in particularity.
  In this vein, Plaintiffs do not allege that they were required to pay to re-book their flight. As such, there are no
  legitimate allegations establishing an economic loss.


                                                             6
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 7 of 55




  embarrassment). Accordingly, Plaintiffs’ claims are barred under Article 19 of the Montreal

  Convention. See Vumbaca v. Terminal One Group Ass’n L.P., 859 F. Supp. 2d 343, 2012 U.S.

  Dist. LEXIS 55542, 2012 WL 1377074, *16 (E.D.N.Y. 2012) (stating that the types of damages

  recoverable under Article 19 are economic losses occasioned by delay such as taxi fare or

  replacement of personal items).

         2.      Article 17

         As shown above, the claims brought by Plaintiffs fall within the jurisdiction of the Montreal

  Convention as they concern alleged damages related to an international flight between Guatemala,

  a member state, and terminating in the United States, a member state. As the claims do not result

  from an accident, and do not concern a physical injury, they are insufficient to form a cause of

  action under Article 17 and must be dismissed.

         Under Article 17 of the Montreal Convention, a carrier is liable for damage sustained in

  case of injury of a passenger if “the accident” causing the injury took place on board the aircraft

  or in the course of embarking/disembarking. Montreal Convention, Art. 17(1). Plaintiffs must

  establish that: (1) there has been an “accident;” (2) the accident caused the plaintiff’s injury; and

  (3) the accident took place on board the aircraft or in the course of the operations of embarking or

  disembarking. See E. Airlines, Inc. v. Floyd, 499 U.S. 530, 535-36 (1991). Courts have clarified

  that an “accident” under Article 17 is “an unexpected or unusual event or happening that is external

  to the passenger.” Air France v. Saks, 470 U.S. 392, 405 (1985). To be considered an accident

  under Montreal, the plaintiff must also prove that the unusual or unexpected event proximately

  caused the alleged injury. Id.

         In Campbell v. Air Jam., Ltd., the plaintiff was recalled after boarding and forced to

  reschedule to another departure the next day. Campbell, 760 F.3d 1165. The plaintiff was then




                                                   7
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 8 of 55




  forced to pay a $150 fee to change flights and was refused reimbursement of lodging costs,

  resulting in the plaintiff spending the night outside where he suffered a medical emergency. Id. at

  1167. The plaintiff made claims under Article 17 of the Montreal Convention, asserting that his

  removal from the flight constituted an accident. Id. The court disagreed, stating explicitly that

  “bumping,” -whereby an airline intentionally causes a passenger to reschedule to a later flight

  before departure-is systematic, widely known, and therefore not an accident. Id. at 1172. The

  Supreme Court has recognized that “routine travel procedures” do not amount to Article 17

  accidents. Air France, 470 U.S. at 394 (holding that liability under Article 17 arises only if a

  passenger’s injury is caused by an unexpected or unusual event or happening that is external to the

  passenger, and not where the injury results from the passenger’s own internal reaction to the usual,

  normal, and expected operation of the aircraft, in which case it has not been caused by an accident

  under Article 17).

         Here, Plaintiffs allege emotional distress injuries related to their removal from the subject

  flight and rebooking on a later flight. Under 11th Circuit jurisprudence, these events cannot be

  considered an “accident” or external to Plaintiffs in the context of Article 17. Indeed, Plaintiffs

  admit in their Complaint that they instigated a conflict with the flight attendants by refusing to

  fasten their seat belts and then representing to the flight attendants that they were incapable of

  fastening their seat belts. Through their own actions, and refusal to follow crew instructions,

  Plaintiffs prompted an altercation. (See Complaint at p. 3). Despite their misconduct, Plaintiffs

  were ultimately transported by Frontier on a later flight, without having to pay an additional fee.

  Id. at 6. As the court held in Campbell, the removal and rebooking of a passenger cannot be

  considered an “accident” for purposes of an Article 17 claim. Campbell, at 1172. Ultimately,




                                                   8
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 9 of 55




  Plaintiffs reached their destination, and any harms they allege were the result of a rescheduling,

  which the court in Campbell held is routine and ordinary, not to be considered an accident. Id.

         Additionally, Plaintiffs’ claims fail under the injury requirement as well. Article 17 only

  allows for the recovery of damages for emotional distress injuries where such injuries were caused

  by physical injury. Murphy v. Airway Air Charter Inc., 2024 U.S. Dist. LEXIS 178352, at *13

  (S.D. Fla. Sept. 30, 2024). In Murphy, the plaintiff sought emotional distress damages that directly

  resulted from a plane crash in which he was involved. Id. However, while the plaintiff’s emotional

  and mental injuries arose generally from the trauma of being involved in a plane crash, he did have

  physical injuries. Id. As a result, this Court held that those emotional damages could be

  recoverable, but only to the extent that they were the “direct result of the physical injuries he

  suffered.” Id. In contrast, Plaintiffs here have not alleged any physical injuries related to their

  removal and rebooking. Indeed, they readily admit that they willingly departed the subject flight

  and ultimately took the replacement flight without having any concerns. (See Complaint at p. 6).

  Therefore, Plaintiffs’ allegations only include emotional distress claims, and, therefore, are

  insufficient to establish an Article 17 claim.

         3.      Punitive damages are not permitted under the Montreal Convention

         In their Complaint, Plaintiffs seek the recovery of punitive damages. Id. at 10. Such

  damages, however, are expressly barred by the Montreal Convention:

         “In the carriage of passengers, baggage, and cargo, any action for damages,
         however, founded, whether under this Convention or in contract or in tort or
         otherwise, can only be brought subject to the conditions and such limits of
         liability as are set out in this Convention . . . In any such action, punitive,
         exemplary, or any other non-compensatory damages shall not be recoverable.”
  Montreal Convention, Chapter 3, Article 29 (emphasis added). Accordingly, Plaintiffs’ claims

  for punitive damages should be dismissed with prejudice.


                                                   9
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 10 of 55




  B.     Alternatively, Plaintiffs’ Claims under Fla. Stat. § 501.201 are expressly preempted
         by the Airline Deregulation Act.

         Assuming, arguendo, that the Montreal Convention does not bar Plaintiffs’ claims, Count

  1 still fails because it is expressly preempted by the Airline Deregulation Act of 1978 (“ADA”).

  Under the ADA, states may not enact or enforce a law, regulation, or other provision having the

  force and effect of law related to a price, route, or service of an air carrier. 49 USCS § 41101.

  Common law claims fall within the language of § 41713(b)(1) as they have the force and effect of

  law. Northwest, Inc. v. Ginsberg, 572 U.S. 273, 281-282 (2014). When determining whether laws

  are preempted by the ADA, courts apply a two-factor test: (1) the claim must be related to prices,

  routes or services of an air carrier; and (2) the claim must constitute an enactment or enforcement

  of state law. Tucker v. Hamilton Sundstrand Corp., 268 F. Supp. 2d 1360, 1363 (S.D. Fla. June

  20, 2003).

         In Morales v. Trans World Airlines, Inc., the Supreme Court held that the phrase “related

  to,” in preemption provisions should be given broad meaning. Morales v. Trans world Airlines,

  Inc., 504 US 374, 383-84 (1990). At issue in Morales was the promulgation of travel guidelines

  by an association of Attorneys General (“NAAG”), which sought to standardize the regulation of

  airline advertising, frequent flyer programs, and compensation to passengers who voluntarily yield

  their seats. Id. at 379. In particular, the NAAG sought to impose regulations aimed at deceptive

  practices in marketing and pricing. Id. at 390. The Court held that to be “related to” under the ADA

  preemption provisions, the laws do not have to actually prescribe rates, routes or services, or even

  be addressed to the airline industry. Id. at 385.

         The Court further expanded the interpretation in Am. Airlines v. Wolens, which concerned

  an Illinois Consumer Fraud Act of general applicability. See Am. Airlines v. Wolens, 513 U.S. 219

  (1995). In Wolens, passengers brought suit against American Airlines under the Consumer Fraud



                                                      10
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 11 of 55




  Act for alleged deceptive practices involving frequent flyer credits. Id. at 224-25. While the

  Consumer Fraud Act was not specifically enacted to govern the airline industry or fares of carriers,

  the action brought under fraud protections contained therein had a consequential effect that

  regulated pricing and marketing of air transportation, and, thus, was preempted by the ADA. Id. at

  228.

           Plaintiffs’ claim under Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)

  is a nearly identical situation as in Wolens. FDUTPA is a state statute that makes unfair methods

  of competition and trade practices unlawful. Fla. Stat. §501.201 et seq. Plaintiffs here claim that

  their removal from the subject flight and being rebooked onto another flight was a violation of the

  FDUTPA. Permitting Plaintiffs to use the FDUTPA as a basis of recovery would effectively allow

  the state of Florida to regulate the services provided by air carriers. This encroachment would

  violate the express preemption provision in the ADA. Accordingly, Plaintiffs’ claim under the

  FDUTPA must be dismissed with prejudice.

  C.       Alternatively, Frontier’s Contract of Carriage reserves the right to deny
           transportation to passengers.

           Assuming, arguendo, that the Montreal Convention does not bar Plaintiffs’ claims, Count

  2 still fails because Frontier’s Contract of Carriage specifically permits the actions that provide the

  bases for Plaintiffs’ breach of contract claim2. In an action for breach of contract, Florida common

  law requires a plaintiff to prove (1) the existence of a valid and enforceable contract between the

  parties, (2) the defendant’s material breach of the contract, and (3) that the plaintiff sustained

  damages as a result of the defendant’s breach. Seven Seas Int’l, LLC v. Frigopesca, C.A., 616

  F.Supp.3d 1323, 1329 (S.D. Fla. July 21, 2022). Plaintiffs here fail not only to satisfy the elements



  2
   Plaintiffs’ breach of contract claim is also untimely, and therefore barred, under the 6-month time limitation provision
  in the Contract of Carriage. (See Contract at Section 21).


                                                            11
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 12 of 55




  of an action for breach, but their claim is explicitly barred under the terms of their contract with

  Frontier.

         The contract at issue is Frontier’s Contract of Carriage (“Contract”), a copy of which is

  attached as Exhibit B. Hi-Tech Pharms., Inc. v. HBS Int’l Corp., 910 F.3d 1186, 1189 (11th Cir.

  2018) (noting if a document is referred to in the complaint, central to the plaintiff’s claim and of

  undisputed authenticity, the Court may consider the documents in a motion to dismiss). The

  Contract applies “to all tickets issued for travel on flights operated by or for Frontier . . . whether

  such ticket was sold by Frontier or its authorized agents or whether such ticket is used.” (See

  Contract at Section 1).

         Plaintiffs allege that Frontier represented a specific flight time and date, and then after their

  purchase, Frontier changed the time of their flight with “no other options.” (See Complaint at p.

  7). Further, they assert that Frontier was under a contractual obligation to provide Plaintiffs with

  other options at no additional cost, and such change in flight times caused Plaintiffs to suffer losses

  to include funds spent on tickets, fees, embarrassment, and inconvenience. However, the terms of

  the contract at issue expressly state: “Frontier will use reasonable efforts to transport passengers

  and baggage to the purchased destination, but published schedules, flight times, aircraft types, seat

  assignments, and similar details set forth in the ticket or Frontier’s published schedules are not

  guaranteed and form no part of this Contract of Carriage.” (See Contract at Section 17, p. 20).

  Further, as to Plaintiffs’ demand of “other options at no additional cost,” the Contract provides

  that in the event of cancellation or delay, “Frontier will provide transportation on its own flights

  at no additional charge to the passenger’s original destination . . .,” (See Contract at Section 17, p.

  19), which Frontier fulfilled by providing Plaintiffs with the next available flight to MIA. (See

  Complaint at p. 6).




                                                    12
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 13 of 55




           Section 18 of the Contract governs the terms of “Denied Boarding Compensation.” Section

  18(D) states that a passenger who is denied boarding “will be transported on Frontier’s next

  available flight on which space is available and at no additional charge.” (See Contract at Section

  18, p. 20). Here, Plaintiffs were transported on the next available flight at no charge, which was in

  compliance with the Contract. (See Complaint at p. 6).

           Moreover, Frontier provided more than what was required to Plaintiffs under the Contract.

  Under Section 3 of the Contract, Frontier reserved the right to remove passengers from a flight

  without refund and without liability for a variety of reasons, to include refusal to fasten their

  seatbelts and interference with flight crew duties. (See Contract at Section 3, p. 5). In their

  Complaint, Plaintiffs admit to failing to comply with the crew’s directives to fasten their seatbelts,

  and they became disruptive when the crew inquired about their non-compliance. (See Complaint

  at pp. 2-4). As such, Frontier could have removed them from the flight without issuing a refund

  or rebooking them on another flight.

  D.       Plaintiffs fail to sufficiently allege any misrepresentation by Frontier.

           A plaintiff’s pleading is subject to heightened pleading requirements of Rule 9(b), which

  requires a party alleging fraud or mistake to “state with particularity the circumstances constituting

  fraud or mistake,” alleging the “who, what, when, where, and how of the fraud alleged.” Ganz v.

  Grifols Therapeutics LLC, 688 F.Supp. 3d 1209, 1228 (S.D. Fla. Aug. 22, 2023). Under Florida

  law, a fraud claim requires a showing of: (1) false statement concerning a material fact; (2) made

  with knowledge of its falsity; (3) with an intention that it induces the plaintiff to act on it; (4) which

  the plaintiff acts in reliance upon; and (5) injury results. Butler v. Yusem, 44 So. 3d 102, 105 (Fla.

  2010).

           1.     False Statement Concerning a Material Fact




                                                     13
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 14 of 55




           False representations in a fraud claim must be of past or existing facts. First Union

  Brokerage v. Milos, 717 F. Supp. 1519, 1525 (S.D. Fla. May 12, 1989). A fact is material if, but

  for the misrepresentation, the plaintiff would not have entered the transaction. Frayman v. Douglas

  Elliman Realty, LLC, 515 F. Supp. 3d 1262, 1283 (S.D. Fla. Jan. 25, 2021). Plaintiffs state in their

  complaint that Frontier perpetrated a fraud when two flight attendants allegedly “lie[d] to a pilot,”

  leading to their removal. (Complaint at p. 8). However, at the time of this alleged

  misrepresentation, Plaintiffs had already purchased their tickets and boarded the subject flight. Id.

  Any misrepresentation between a flight attendant and the Captain had no bearing on Plaintiffs’

  actions. Further, Plaintiffs provide no details of what was actually said by the flight attendant,

  only that she “lie[d]” to have them removed. Id. at 8. As such, the Complaint fails to sufficiently

  plead a false statement nor its materiality, and, therefore, fails to satisfy the first element of a fraud

  claim.

           2.     Made with Knowledge of its Falsity

           Under Florida law, a plaintiff must allege that the defendant had knowledge that the

  representation was false. MDVIP, Inc. v. Beber, 222 So.3d 555, 562 (Fla. Dist. Ct. App. 2017).

  Here, Plaintiffs generally assert that two flight attendants made misrepresentations to the Captain.

  Plaintiffs fail, however, to provide details concerning the alleged misrepresentations. In fact,

  Plaintiffs provide no description of what was said to the Captain that was allegedly false. (See

  Complaint at p. at 5). As such, Plaintiffs’ claim also fails to satisfy the second element.

           3.     Intention for the Plaintiff to Rely on the Misrepresentation

           To satisfy this element, a plaintiff must show that the defendant intended that the plaintiff

  would learn of the misrepresentation (Stevens v. Danek Med., Inc., 1999 US Dist. LEXIS 22397,

  at *16 (S.D. Fla. Apr. 16, 1999)), and that the defendant intended to induce the plaintiff to alter




                                                     14
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 15 of 55




  their position based on the misrepresentation (Soler v. Secondary Holdings, 771 So.2d 62, 69-70

  (Fla. Dist. Ct. App. 2000)). Here, Plaintiffs’ Complaint alleges that the flight attendant intended to

  induce the Captain, not Plaintiffs. As such, there was neither a misrepresentation to Plaintiffs nor

  an intent for them to alter their position in reliance on a misrepresentation.

         4.         Actual and Reasonable Reliance by the Plaintiff

         A plaintiff must establish reliance on the defendant’s alleged misrepresentation. This

  element is satisfied when the misrepresentation (1) justifiably relied upon and (2) is a substantial

  factor in their decision to act. Stev-Mar, Inc. v. Matvejs, 678 So.2d 834, 838 (Fla. Dist. Ct. App.

  1996). Plaintiffs here do not allege that they relied on any alleged misrepresentation.

         5.         Resulting Damages

         A plaintiff must establish actual damages in a claim for fraud, which requires a showing of

  pecuniary damage or injury by which they have been placed in a worse position than they would

  have been absent the fraud. Geico Gen. Ins. Co. v. Hoy, 136 So.3d 647, 651 (Fla. Dist. Ct. App.

  2013). The damages must directly result from the defendant’s fraud and be causally connected to

  such fraud. Simon v. Celebration Co., 883 So.2d 826, 833 (Fla. Dist. Ct. App. 2004). Here,

  Plaintiffs cannot point to any recoverable damages that resulted from a fraud perpetrated against

  them, and, therefore, they cannot satisfy any causal connection between a supposed fraud and any

  harm they might have experienced.

  E.     Plaintiffs failed to exhaust administrative remedies under the Florida Civil Rights
         Act.

         The Florida Civil Rights Act (“FCRA”) prohibits discrimination in multiple areas, to

  include education, employment, housing, and public accommodations. Fla. Stat. §§ 760.01-

  760.85, et seq.




                                                   15
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 16 of 55




         An individual who believes they have been discriminated against must first file a complaint

  with the Florida Commission on Human Relations (FCHR) within 365 days of the alleged

  discriminatory act. Weaver v. Florida Power & Light, 1996 US Dist. LEXIS 13403, at *24-25

  (S.D. Fla. July 16, 1996). The FCHR then has 180 days to investigate the complaint and determine

  whether there is reasonable cause to believe that a discriminatory practice has occurred. Maggio

  v. Dep’t of Labor & Empl. Sec., 910 So.2d 876 (Fla. Dist. Ct. App. 2d Dist., Aug. 10, 2005); see

  also Fla. Stat. § 760.11. If the FCHR finds reasonable cause, the aggrieved person may either bring

  a civil action in court or request an administrative hearing. Id.

         Here, Plaintiffs allege that Frontier discriminated against them in violation of the FCRA.

  They have not, however, alleged that they have exhausted their administrative remedies under the

  FCRA by timely filing a claim with the FCHR. As such, these claims should be dismissed with

  prejudice.




                                                   16
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 17 of 55




                                       V.      CONCLUSION

         For the foregoing reasons, Frontier Airlines, Inc., respectfully requests that this Court enter

  an Order dismissing the Complaint with prejudice pursuant to Fed. R. Civ. P. 12(b)(6), and for

  such further relief as this Court deem just and reasonable.

  Respectfully submitted this 8th day of October, 2024.

                                                 Respectfully submitted,

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                                                   17
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 18 of 55




                                  CERTIFICATE OF SERVICE

          I HEREBY certify that a true copy of the foregoing document has been electronically

   filed and sent to Plaintiff through Clerk of the U.S. District Court for the Southern District of

   Florida by using the CM/ECF system on this 8th day of October, 2024: Adam Thor and Travis

   Foster, 1300 Washington Ave #0264, Miami Beach, Florida 32801, Telephone: (201) 638-1077,

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                                                  18
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 19 of 55

                                                     EXHIBIT "A"
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 20 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 21 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 22 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 23 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 24 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 25 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 26 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 27 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 28 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 29 of 55
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 30 of 55


                                                          EXHIBIT "B"

                       Contract of Carriage

                               Effective Date:     04/10/23
       Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 31 of 55



    CONTRACT OF CARRIAGE                                                                                                                  Rev83 04/10/23
I




                                                           Table of Contents

             Section          Subject                                                                                                                    Page


       1. Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
       2. Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
       3. Refusal to Transport and Special Conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
       4. International Transportation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
       5. Child Passengers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
       6. Service Animals. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
       7. Smoking . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
       8. Tickets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
       9. Ticket Validity and Itinerary Changes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
       10.Check-in Times . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       11.Fares . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       12.Checked Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
       13.Carry-On Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
       14.Conditions and Charges for Special Items . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
       15.Limitations of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
       16.Claim Limits and Procedures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
       17.Failure to Operate on Schedule or Failure to Carry . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
       18.Denied Boarding Compensation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
       19.Refunds; No-Show Cancellations and Service Charges . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
       20.Currency and Mode of Payment and Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
       21.Miscellaneous . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
       22.Contingency Plan for Extended Tarmac Delays . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24




    Pg. 1 of 25                                                                                                                          Table of Contents
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 32 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23

1. Introduction
                                                                                                                      25




 The following terms and conditions as well as such additional terms and conditions presented on Frontier Airlines'
 website, fare rules, published schedules or printed on or in any ticket or ticket-less travel authorization apply to
 all tickets issued for travel on flights operated by or for Frontier Airlines, Inc. (“Frontier”), as well as that
 transportation, regardless of whether such ticket was sold by Frontier or its authorized agents or whether such
 ticket is used (“Contract of Carriage”).
 This document is available for public inspection at all Frontier locations. Copies may be obtained by visiting the
 Frontier's web site at www.FlyFrontier.com or by writing to: Frontier Airlines, Inc., Customer Relations, 4545 Airport
 Way, Denver, CO 80239.

2. Definitions

  A. Codeshare -- A marketing and business arrangement in which two airlines “share” the same flight (which
     might include connecting legs). One airline places its designator code and flight number on a flight operated
     by the other airline, and markets and sells tickets for that shared flight as part of its published schedule.
  B. Code -- The U.S. Internal Revenue Code of 1986, as amended.
  C. DOT -- U.S. Department of Transportation.
  D. FAA -- U.S. Federal Aviation Administration.
  E. Fare Rules -- The rules and requirements associated with a ticket.
  F. IATA -- International Air Transport Association.
  G. No-Show Cancellation -- The automatic cancellation of a passenger’s ticket upon such passenger failing to
     either (i) check-in for such passenger’s flight, or (ii) board such passenger’s flight, in either instance within
     the required times. The automatic cancellation will apply to all subsequent flights, including return flights, on
     the itinerary. Presentation of a ticket by someone other than the named passenger renders the ticket void
     and the ticket will then be treated as a No-Show Cancellation for all purposes of this Contract of Carriage.
     (See section 19. )
  H. Qualified Individual with a Disability -- An individual with a disability who: (i) has a physical or mental
     impairment that, on a permanent or temporary basis, substantially limits one or more major life activities; (ii)
     has a record of such an impairment; or, (iii) is regarded as having such an impairment, as further defined in
     14 CFR 382.5.
  I. Standby Passenger -- A passenger boarded subject to availability of seat space at departure time and only
     after all passengers having confirmed reservations for the flight have been boarded.
  J. Stopover -- An intentional interruption in a passenger’s trip in excess of 4 hours at a point between the place
     of departure and the final destination.
  K. STRETCH Seat - A seat located in the front rows and exit rows of certain Frontier aircraft that have additional
     legroom. These seats are made available to passengers for a fee.
  L. Ticket -The record of agreement, including electronic tickets, for passenger air transportation provided by the
     airline under certain terms and conditions to the passenger as described on the ticket, in the fare rules, and
     in this Contract of Carriage.
  M. TSA -- U.S. Transportation Security Administration.


Introduction                                                                                               Pg. 2 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 33 of 55



CONTRACT OF CARRIAGE                                                                               Rev83 04/10/23


3. Refusal to Transport and Special Conditions

  A. Frontier may refuse to provide transportation to any person and may require that a passenger leave an
     aircraft or be removed from an aircraft for the following reasons, in which case Frontier will provide a refund
     of the amount paid for their ticket, which will be the limit of Frontier's liability.
     1) Government Request -- To comply with a government requisition of space or request for emergency
        transportation (e.g., in connection with national defense or natural disaster (actual, threatened, or
        reported)).
     2) No Seat for Safety Assistant - If a passenger requires a safety assistant (see section 3. B.6) and there is
        not a seat available on the applicable flight and, thus, both the passenger and the safety assistant are
        denied transportation. For purposes of determining whether a seat is available for a safety assistant, the
        safety assistant is deemed to have checked in at the same time as the individual with the disability.
  B. Frontier may refuse to provide transportation to any person and may require that a passenger leave an
     aircraft or be removed from an aircraft for the following reasons, in which case no refund will be due and
     Frontier will have no further liability.
     1) Government Direction - To comply with a direction of a government official acting in their official capacity
        to remove or not provide transportation to a specific individual.
     2) Identification -- The passenger refuses to produce a government-issued identification as required by
        Frontier's representatives or as required by law.
     3) MyFrontier Account; Card on File - The passenger refuses to create a MyFrontier account or have a credit
        or debit card on file with Frontier, each of which is active at the time of travel. Any fees owed to Frontier
        may be unilaterally charged by Frontier using the card or other method of payment that is on file with
        Frontier.
     4) Balance Due - If at the time of travel there is any balance unpaid to Frontier for ticket or optional services
        charges, the ticket and all optional services may be canceled, whether or not a passenger has been
        notified of such cancellation.
     5) Passports/Visas -- The passenger intending to travel across any international border fails to possess and
        present all valid documents (passports, visas, certificates, etc.) required by the laws of the countries
        from, over, or into which the passenger will fly, which will in all cases be the passenger’s exclusive
        responsibility.
     6) Failure to Check In or Appear - The passenger fails to check-in for their flight within the required times or
        appear for boarding of that flight within the required times. (The ticket will be deemed to be a No-Show
        Cancellation (see Section 2.G) and canceled. All subsequent flights, including return flights, on the
        itinerary will also be treated as No-Show Cancellations (see Section 20)).
     7) Special Medical Requirements -- The passenger will be refused transport if the passenger requires
        medical equipment be used in flight or services (i) not provided by Frontier, (ii) that may not be used in
        flight, or (iii) does not have sufficient supplies therefor. The foregoing includes any medical equipment
        that would require use of power from the aircraft, medical equipment for which the passenger does not
        have sufficient batteries for the duration of the flight plus unexpected delays. Passengers must be able
        to sit in a single seat with the seat in the full and upright position, which precludes passengers that must
        lie flat or that must be transported on a stretcher. Frontier does not provide medical oxygen.




Pg. 3 of 25                                                           Refusal to Transport and Special Conditions
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 34 of 55



CONTRACT OF CARRIAGE                                                                              Rev83 04/10/23

           EXCEPTION: A respiratory device (e.g., ventilator, respirator, CPAP machine or Portable Oxygen
           Concentrator) is considered an assistive device and is permitted as carry-on or checked baggage at no
           charge provided that all batteries must be transported in carry-on baggage and must be packaged in
           a manner that protects them from physical damage and short circuits, and provided that if the device
           is to be used in flight: (i) the passenger must carry enough fully-charged batteries to power the device
           throughout the entire journey including all ground time (between connections), the duration of the flight
           and for unexpected delays, (ii) the device must be approved by the FAA with stickers indicating such,
           and (iii) prior to traveling, the passenger must complete the Portable Oxygen Concentrator Medical
           Authorization (form 30881) available on Frontier's website or obtain a medical statement from the
           passenger’s physician addressing the points on the POC Medical Authorization form.
           NOTE:       Passengers are referred to 14 CFR Part 121, SFAR No. 106 for regulations regarding and
                       a list of Portable Oxygen Concentrators that are approved for use on aircraft.
     8) Qualified Individual with a Disability -- If transportation is refused because the passenger fails to comply
        with the following: Qualified individuals with a disability will be transported in accordance with the
        conditions and requirements of 14 C.F.R. § 382 unless the carriage of such individuals may impair the
        safety of the flight or violate Federal Aviation Regulations. Pursuant to 14 C.F.R. § 382.113, Frontier does
        not provide certain extensive in flight special services such as assistance in actual eating, assistance
        within the lavatory or at the individual's seat with elimination functions, or provision of medical services.
        Moreover, pursuant to 14 C.F.R. § 382.29, a qualified individual with a disability may be required to be
        accompanied by a safety assistant as a condition of being provided air transportation in any of the
        following circumstances: (i) when the individual, because of a mental disability, is unable to comprehend
        or respond appropriately to safety instructions from employees, including the required safety briefing, (ii)
        when the individual has a mobility impairment so severe that the individual is unable to assist in the
        passenger’s own evacuation of the aircraft, (iii) when the individual has both severe hearing and severe
        vision impairments, if the individual cannot establish some means of communication with employees
        adequate to permit transmission of the required safety briefing, (iv) on the day of departure, if it is
        determined that an individual meeting the criteria of (i), (ii) or (iii) must travel with a safety assistant,
        contrary to the individual's self-assessment that the passenger is capable of traveling independently, the
        safety assistant will not be charged to accompany the individual with a disability.
     9) Prisoners - Frontier will not transport any prisoners under any circumstances.
     10) Proper Attire - Any passenger who is barefoot and over 3 years of age, unless required to be barefoot for
         medical reasons, or who is not otherwise fully clothed in clothing that is not lewd or obscene, threatening,
         intimidating, or would be objectionable to reasonable persons.
     11) Malodorous Condition - Any passenger who has a severe or offensive body odor that is not due to a
         disability.
     12) Intoxication - Any passenger who appears to be intoxicated or under the influence of drugs.




Refusal to Transport and Special Conditions                                                              Pg. 4 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 35 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23

     13) Communicable Disease or Infection - A passenger who has a communicable disease or infection (that is
         known or reasonably believed to pose a direct threat to the health or safety of others in the course of
         flight) may be denied boarding by Frontier. If such a passenger presents a medical certificate dated within
         10 days of the date of the flight for which it is being presented that includes specific conditions under
         which the individual can travel and not pose a direct threat to the health and safety of other persons,
         transportation will be provided to such individual unless it is not reasonable or feasible to implement the
         conditions set forth in the medical certificate as necessary to prevent the transmission of the disease or
         infection to other persons in the normal course of flight. Unacceptable measures include, but are not
         limited to: a required separation between the passenger and other persons, use of medical equipment
         not permitted to be used on the aircraft, or a requirement that any other passenger wear protective gear.
         a) 2019 Novel Coronavirus (COVID-19) – Frontier may screen passengers during the check-in and
            boarding process, and may deny boarding to passengers who Frontier reasonably believes do not
            meet Frontier’s COVID-19 screening measures. Screening will include, but is not be limited to:
            completion of a health acknowledgment, required wearing of facial coverings, and submission to a
            temperature check. Notwithstanding Section 11 above, a passenger who presents a medical
            certificate dated within 10 days of the date of the flight for which it is being presented may be denied
            boarding if, on the planned date of travel, the passenger fails to meet Frontier’s COVID-19 screening
            measures.
     14) Refusal or Inability to Sit - Any passenger who is unwilling or unable to sit in an upright position during
         takeoff and landing with the seat belt fastened.
     15) Failure to Follow Instructions - Any passenger who refuses to obey instructions from an employee or
         crewmember.
     16) Use of Ticket Issued to Other Person - Any passenger who attempts to use a ticket not issued to that
         person. Transfer of a ticket by a passenger to another person is not permitted. (This ticket will be deemed
         to be a No-Show Cancellation (see Section 2.G) and canceled. All subsequent flights, including return
         flights, on the itinerary will also be treated as No-Show Cancellations (see Section 20)).
     17) Interference - Any passenger who interferes with any member of the flight crew in pursuit of their duties
         or attempts to do so.
     18) Smoking - Any passenger who smokes or attempts to smoke on an aircraft.
     19) Weapon - Any passenger who, except as permitted by law (see 49 C.F.R. § 1544.219), wears or has on or
         about their persons concealed or unconcealed, deadly or dangerous weapons.
     20) Purchase in Violation of Contract of Carriage - Any passenger that purchases a ticket in violation of this
         Contract of Carriage or any fare rule. In addition, Frontier may (i) invalidate the tickets or any other that
         may have been purchased in the same manner, (ii) cancel any remaining portion of the passenger's
         itinerary, or (iii) confiscate any unused portions of the ticket.
     21) General Refusal - Any person whom Frontier has informed is not permitted to purchase transportation
         from Frontier.
  C. Refusal to Sell Transportation - Frontier may refuse to sell transportation to any person, including the
     following, and may inform such persons that they are not permitted to purchase transportation from Frontier:
     1) Refusal to Comply - A person who refuses to comply with instruction given by employees or
        representatives prohibiting the solicitation of items for sale or purchase, including airline tickets, passes,
        or travel award certificates.
     2) Prior Conduct - A person who has disrupted airline operations, mistreated employees, or has not complied
        with Frontier's policies or otherwise violates this Contract of Carriage.

Pg. 5 of 25                                                           Refusal to Transport and Special Conditions
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 36 of 55



CONTRACT OF CARRIAGE                                                                                  Rev83 04/10/23

     3) Misconduct - A person who has committed a fraudulent act against Frontier.
  D. Customer of Size - If, in Frontier's sole judgment, a passenger is unable to sit in an aircraft seat without lifting
     either or both armrests and occupying all or a portion of the adjacent seats, or encroaching into the aisle or
     adjacent seats, the passenger will be required to purchase a ticket for an additional seat (or more, if required
     to accommodate the passenger) at the price then applicable. If sufficient, contiguous seats are not available,
     the passenger will be given the option to switch to flights on which such seats are available (for which
     applicable fees will apply) or be given a refund.
  E. Allergies (Peanut, Pet, or Chemical) - Items are not removed from the aircraft to accommodate a passenger's
     allergy to a particular food, substance, or chemical. A variety of snacks are served on board many flights,
     including products that may contain peanuts or other nuts. A “peanut-free” or “chemical-free” environment
     cannot be provided to passengers onboard the aircraft. Passengers are advised to consult a healthcare
     professional regarding the risks of onboard exposure to any allergen.
  F. Pregnancy - Passengers who are pregnant are urged to consult with their doctor on whether it is safe to travel
     by air, including with due consideration to the possibility of turbulence, cabin pressurization, significantly
     increased risk of deep vein thrombosis associated with pregnancy, and lack of ready access to medical care.
     This is particularly important for women in their ninth month of pregnancy, who are urged to obtain an
     examination from their physician shortly before flying to confirm air travel will be safe. Women with a history
     of complications or premature delivery should not fly if pregnant. By traveling with Frontier, pregnant women
     acknowledge and accept these risks. Different policies for passengers who are pregnant may apply on any
     leg of a codeshare flight that is operated by the codeshare airline.
  G. Electronic Surveillance of Passengers and Baggage - Passengers and their baggage are subject to inspection,
     including via electronic means, with or without the passenger's consent or knowledge.
  H. Diversion While in Flight or Return to Gate- In the event that Frontier is required to divert an aircraft while in
     flight or return to gate because a passenger requires medical attention or due to the passenger's conduct,
     the passenger may be required to reimburse Frontier for the costs that Frontier incurs, including the cost to
     accommodate other passengers. The amount due will be as determined by Frontier.

4. International Transportation

  A. Compliance with Regulations - Passengers shall comply with all laws, regulations, orders, demands, or travel
     requirements of countries to be flown from, into, or over. Frontier is not liable for any aid or information given
     by any agent or employee to any passenger in connection with obtaining necessary documents or complying
     therewith (including as may be provided in this Contract of Carriage) or the consequences to any passenger
     resulting from the passenger’s failure to obtain such documents or to comply with such laws, regulations,
     orders, demands, requirements, or instructions.
  B. Compliance with Foreign Country Regulations regarding Importation of Goods - Passengers shall comply with
     all laws, regulations, orders, demands, or travel requirements of countries to be flown from, into, or over.
     Frontier is not liable for the consequences to any passenger resulting from the passenger’s failure to comply
     with such laws, regulations, orders, demands, requirements, or instructions.
  C. Customs Inspection - If required, a passenger must attend the inspection of the passenger’s baggage,
     checked or unchecked, by customs or other government officials. Frontier accepts no responsibility to the
     passenger if they fail to observe this condition.




International Transportation                                                                                 Pg. 6 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 37 of 55



CONTRACT OF CARRIAGE                                                                                 Rev83 04/10/23
  D. Government Regulation - No liability shall attach to Frontier if, based on what it understands to be applicable
     law, government regulation, demand, order, or requirement, it refuses to carry passenger. If, however, it is
     ultimately determined that Frontier was incorrect, the limit of its liability will be to refund the amount paid for
     the ticket on which transportation was refused.
  E. International Operations - Frontier is required to make an attempt to obtain emergency contact information
     from a passenger traveling into or out of a foreign country. If a passenger refuses to provide emergency
     contact information, Frontier will document the attempt and may require the passenger to sign the document.
  F. Indemnification - A passenger shall indemnify Frontier for any loss, damage, or expense suffered or incurred
     by Frontier by reason of the passenger's failure to possess any required travel documents or other failure to
     comply with the provisions of this section, including the applicable fare if Frontier is required to transport the
     passenger home from a country. Frontier is not liable to the passenger for loss or expense due to the
     passenger's failure to comply with this provision.
  G. Baggage Limitation - Passengers shall comply with all laws, regulations, orders, demands, or travel
     requirements regarding baggage size and weight limitations of countries to be flown from, into, or over.
     Frontier is not liable for the consequences to any passenger resulting from the passenger’s failure to comply
     with such laws, regulations, orders, demands, requirements, or instructions.

5. Child Passengers

  A. Accompanied Children -- Children from 7 days through 14 years of age may travel with another passenger who
     is at least 15 years old.
  B. Unaccompanied Children
     1) Frontier does not allow children under the age of 15 years old to travel unaccompanied; they must be
        accompanied by a passenger who is at least 15 years old. Passengers who are 15 years old or older may
        travel on Frontier without an adult companion. A birth certificate, official school ID, or other form of ID may
        be requested for age verification purposes if the child's age appears questionable.
       NOTE:          Passengers under age 18 traveling without both parents may need additional documentation
                      to travel across international borders, depending on the country's requirements.
  C. Infant and Child Fares (except as otherwise provided in a specific fare rule) are as follows:
     1) Infants under 2 years of age are accepted, without charge, when the infant does not occupy a separate
        seat and is accompanied by a fare-paying passenger at least 15 years old. A birth certificate may be
        requested for age verification purposes if the infant’s age appears questionable.
              NOTE:      Due to supplemental equipment considerations, the number of infants accepted per flight
                         may be limited based on aircraft type.
     2) One adult may accompany up to two infants under the age of 2.
         a) When an adult passenger is traveling with two infants under 2 years of age, a seat must be purchased
            for at least one infant. The fare is the same as an adult fare.
     3) Children 7 days - 14 years of age occupying a seat are charged the same fare as an adult passenger.
              NOTE:      Passengers under age 2 traveling as lap children (not purchasing a seat) are subject to
                         international taxes. These taxes must be paid prior to boarding the originating departure
                         flight.




Pg. 7 of 25                                                                                          Child Passengers
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 38 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23

  D. Child Restraint Systems - Frontier accepts infant and child restraint systems (car seat or harness) approved
     for air travel that fit in the applicable aircraft seat with the arm rest down that meet the following
     requirements:
     1) Approved seats manufactured to U.S. standards between January 1, 1981, and February 25, 1985, must
        bear the label: “This child restraint system conforms to all applicable Federal motor vehicle safety
        standards.”
     2) Seats manufactured to U.S. standards on or after February 26, 1985, must bear two labels: (i) “This child
        restraint system conforms to all applicable Federal motor vehicle safety standards” and (ii) “THIS
        RESTRAINT IS CERTIFIED FOR USE IN MOTOR VEHICLES AND AIRCRAFT” in red lettering.
     3) Seats not meeting the above criteria must bear a label or markings showing: (i) the seat was approved by
        a foreign government, (ii) the seat was manufactured under the standards of the United Nations, (iii) the
        seat or child restraint device furnished by the certificate holder was approved by the FAA through Type
        Certificate or Supplemental Type Certificate, or (iv) the seat or child restraint device was approved by the
        FAA in accordance with 14 C.F.R § 21.8(d), or FAA Technical Standard Order C-100b, or a later version.
              NOTE 1:    A child under the age of 2 must be held in the passenger's lap or be seated in an approved
                         car seat for taxi, takeoff, and landing.
              NOTE 2:    Frontier encourages all adults traveling with infants under 2 years of age to secure the
                         infant in an approved car seat or harness in the infant's own purchased seat.
     4) Child Harness - The FAA-approved AMSafe Aviation C.A.R.E.S. child harness device may be used on-board
        the aircraft. It is designed for children weighing between 22 and 44 pounds (between 10 and 20
        kilograms) and must bear the label “FAA Approved in accordance with 14 CFR 21.305(d) approved for
        aircraft use only.”
     5) Car Seats - A car seat may be used by a child between the ages of 7 days and 2 years if seat space is
        available after boarding, even if a seat has not been purchased for the child. A car seat may be used by
        any child when a separate seat has been purchased. To use a car seat onboard the aircraft:
         a) It must bear manufacturer labels identifying approval for aircraft use, as described in subsection (1)
            and (2) above.
         b) It must have a solid seat and solid back.
         c) It must have restraint straps installed to hold the child in the car seat.
         d) The child may not exceed the weight limitation of the car seat.
         e) It may not be placed in the emergency exit rows, in the seats immediately in front of or behind the exit
            rows, or in any seat that has an airbag seatbelt installed.
         f)    Window seats are the preferred location for a car seat, so it does not impede a passenger's movement
               or egress into the aisle. Other seat assignments are permitted provided the car seat is not obstructing
               the egress of any passenger.
         g) It must be secured by a seat belt at all times.
     6) Booster Seats - Booster seats may be carried onboard aircraft but must be stowed in an overhead
        compartment or underneath the seat for takeoff and landing. Once the aircraft has reached cruising
        altitude, the passenger may use the seat during the flight. The booster seat must be stowed when the
        aircraft begins its descent.




Child Passengers                                                                                          Pg. 8 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 39 of 55



CONTRACT OF CARRIAGE                                                                               Rev83 04/10/23


6. Service Animals

  A. General - The following categories of service animals are allowed in the cabin without charge:
     1) Trained service dogs that assist passengers with disabilities. Passengers traveling with a service dog
        must complete and submit the Department of Transportation Service Animal Air Transportation Form,
        attesting to the dog’s health, behavior, and training. For reservations booked more than 48 hours prior to
        travel, passengers must submit the completed form no later than 48 hours prior to travel. For reservations
        booked less than 48 hours prior to travel, passengers must submit the completed form in person to a
        Customer Service Agent upon arrival at the airport. Only dogs will be accepted as trained service animals.
        The animal must be at least 4 months old. The passenger is required to keep the animal under control at
        all times, with the animal on a leash or harness while in the boarding area and onboard the aircraft.
        Psychiatric support animals are recognized as trained service animals. Comfort animals, companionship
        animals, or any other non-task-trained animals are not recognized as service animals. Service animals in
        training will not be accepted.
     2) Service Animals trained in explosive detection, contraband search, or search and rescue on active duty
        and traveling for that purpose will be accepted for travel. The passenger must present credible
        documentation the animal is traveling for that purpose.
  B. Seating - The passenger may sit anywhere, except in an emergency exit row, provided the animal does not
     obstruct an aisle or egress of passengers in an emergency evacuation. The animal must fit under the seat or
     on the passenger's lap. If the passenger is seated in row 1, the animal will not be allowed on the passenger's
     lap. The animal may not occupy a seat. An animal that cannot or does not comply with the foregoing will not
     be accepted.
  C. International - Restrictions for travel with an animal to international destinations vary by country. Frontier
     recommends contacting the appropriate embassy or consulate before purchasing a ticket for travel with a
     service animal or emotional support animal. Different policies may apply on any leg of a codeshare flight that
     is operated by the codeshare airline.
  D. Oxygen - No oxygen will be administered to a service animal in the event of an emergency.

7. Smoking

  A. Smoking is prohibited on all flights.
  B. Federal law prohibits tampering with, disabling, or destroying any smoke detector installed in an aircraft
     lavatory.
  C. The use of electronic smoking devices is prohibited at all times on all aircraft.

8. Tickets

  A. A passenger is entitled to transportation only upon presentation of a valid electronic ticket (e-ticket). The
     ticket entitles the passenger to transportation between the point of origin and the destination.
   NOTE:       Paper tickets are not issued on Frontier ticket stock. Only electronic tickets are issued for travel on
               Frontier. However, paper tickets from other airlines may be accepted for travel at Frontier's
               discretion.


Pg. 9 of 25                                                                                         Service Animals
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 40 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23

  B. Tickets are honored only in the order in which they are issued.
  C. The following practices are prohibited:
     1) Back to Back Ticketing -- The purchase or use of portions of tickets from two or more tickets issued as
        round-trip fares or other scheme for circumventing minimum stay requirements.
     2) Throwaway Ticketing -- The purchase or use of round-trip tickets for one-way travel.
     3) Hidden City/Point Beyond Ticketing -- The purchase or use of a ticket from a point before the passenger's
        actual origin or to a point beyond the passenger's actual destination.
  D. A ticket which has not been properly issued or paid for, or which has been altered, mutilated, or improperly
     issued by an unauthorized party is not valid for travel or refund.
  E. The purchaser of a ticket and the passenger intending to use it are responsible for ensuring that the ticket
     accurately states the name of the passenger.
  F. A ticket may only be used by the person named on the ticket. Frontier is not liable to the purchaser of a ticket
     if the ticket is used by someone other than the person named on the ticket. Tickets may not be purchased for
     the transport of items of baggage that are too large to be stowed safely in a suitable baggage compartment
     in the aircraft cabin or under a passenger seat (such as, but not limited to, musical instruments, electronic
     equipment).
  G. Presentation of a ticket by someone other than the named passenger renders the ticket void. The ticket is
     subject to confiscation, and the ticket will then be treated as a No-Show Cancellation for all purposes of this
     Contract of Carriage. (See section 19. )
  H. An additional processing fee may apply to each ticket purchased or changed via Frontier's reservation center.

9. Ticket Validity and Itinerary Changes

  A. Period of Validity
     1) Tickets issued by Frontier are valid for transportation only on the flights and dates shown on the ticket
        and have no value and are not valid for transportation thereafter. If a passenger cancels a ticket before
        the scheduled flight departure time, the value of the ticket less a service fee and certain other carrier
        charges will be retained for 90 days from the date of cancellation of the ticket in the form of a credit. The
        credit has no cash or refund value and may only be applied to subsequent tickets on Frontier flights for
        the same passenger as the original ticket. In the case of a No-Show Cancellation, see section 19.
     2) Except as required by law or as provided in this Contract of Carriage, Frontier shall have no obligation of
        any kind to reschedule any passengers who cancels a ticket before the scheduled flight departure time
        or to provide them with any refund or other credit for unused tickets.
     3) Except as required by law or as provided in this Contract of Carriage, in the case of a No-Show
        Cancellation, Frontier shall have no obligation of any kind to reschedule any such passengers on any other
        flight, and the rules respecting No-Show Cancellations shall apply (see section 19. ).
  B. Except for tickets purchased for travel within 7 days (168 hours) of purchase, all tickets may be canceled
     within twenty-four (24) hours of the purchase and a full refund will be given. After that time, except for tickets
     and services that are purchased as refundable, all tickets and optional charges or services are non-
     refundable.




Ticket Validity and Itinerary Changes                                                                    Pg. 10 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 41 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23


10. Check-in Times

  A. Airport Check-In - It is the passenger's responsibility to arrive at the airport, taking into consideration travel
     time both to and within the applicable airport, with enough time to complete check-in, to drop off any checked
     bags with a Frontier representative or Frontier-provided system, and to complete processing through the
     security check point.
  B. Passengers can check in beginning 2 hours before departure at Frontier's airport check-in counters or 24
     hours before departure at www.FlyFrontier.com or on the Frontier mobile app, if the reservation is eligible for
     online or mobile app check-in.
  C. Check-In Times
     1) For domestic flights (originating and to a destination within the United States), the passenger must be
        checked in with a printed boarding pass or a Frontier mobile app boarding pass in-hand at least 45
        minutes prior to scheduled departure whether or not checking bags.
         a) Effective August 16, 2023, all passengers must be checked in with a printed boarding pass or a
            Frontier mobile app digital boarding pass in-hand, and with checked bags, if any, presented to and
            accepted by a Frontier representative or Frontier-provided system, at least 60 minutes prior to
            scheduled departure.
     2) For international flights, the passenger must be checked in with a printed boarding pass or a Frontier
        mobile app digital boarding pass in-hand and with checked bags, if any, presented to and accepted by a
        Frontier representative or Frontier-provided system, at least 60 minutes prior to scheduled departure.
  D. Time Limit for Checking Bags - Baggage to be checked must be presented at the airport within the minimum
     check-in time. Passengers who present baggage after the minimum check-in time may be refused transport.
     At some airports, the counter may close at the check-in cut-off time, in such cases, passenger and baggage
     check-in are not permitted after the check-in deadline. In the event that baggage is accepted after the
     minimum check-in time, the passenger will be liable for any costs and fees for the bag to be delivered in the
     event that it is not carried on the same flight.
  E. Availability for Boarding - Tickets and seat assignments are subject to cancellation for passengers who fail to
     make themselves available for boarding at the departure gate at least 20 minutes prior to scheduled
     departure.
  F. Failure to Check In or Appear - If a passenger fails to check in or board the flight within the required time, the
     ticket will be deemed to be a No-Show Cancellation (see Section 2.G) and canceled. All subsequent flights,
     including return flights, on the itinerary will also be treated as No-Show Cancellations (see Section 20).
  G. Misconnected Passengers - The ticket of any passenger who does not meet the minimum check-in time due
     to the late arrival of an inbound connecting flight operating by Frontier will be accommodated on the next
     available flight operated by Frontier to the same destination. Frontier will not provide transportation on
     another airline or reimburse the cost of transportation purchased from another airline. The ticket of any
     passenger who does not meet the minimum check-in time due to the late arrival of an inbound connecting
     flight operated by any other airline will be canceled and no refund or accommodation on another flight will be
     due unless available and purchased at the applicable price by the passenger.

11. Fares

  A. Fares apply for transportation only between the airports for which they are published.


Pg. 11 of 25                                                                                          Check-in Times
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 42 of 55



CONTRACT OF CARRIAGE                                                                             Rev83 04/10/23

 B. When a passenger requires connecting service with arrival at one airport and departure from another airport,
    transportation between those airports must be arranged by and at the expense of the passenger.
 C. Fares are subject to change without notice until a ticket is issued.

12. Checked Baggage

 A. Fees applicable to checked baggage:
    1) Baggage fees apply to each checked bag.
    2) Active U.S. military personnel, with Common Access Card (CAC), may check two bags at no charge for all
       types of tickets. Overweight and oversize charges for the first two free bags are also waived. This policy is
       for active U.S. military personnel only and does not extend to family members or traveling companions.
 B. Baggage Allowance Exceptions - The following may be checked or carried on at no charge and do not count
    toward the passenger's baggage allowance.
    1) Medical Assistive Devices - Canes, crutches, braces, wheelchairs, etc. for the use of the passenger. There
       is no limit to the number of mobility aids a passenger may check. Medical assistive devices must be
       packed separately, in protective packaging, for baggage fees to be waived.
    2) Wheelchairs - In compliance with federal law, wheelchairs or other types of mobility devices for the
       passenger are accepted as checked baggage in addition to the passenger's baggage allowance at no
       additional charge. Certain Frontier aircraft can accommodate up to two wheelchairs up to 40 inches (101
       cm) high, 50 inches (127 cm) long, 13 inches (33 cm) wide, and weighing no more than 70 pounds (31
       kilograms) in the cabin of the aircraft on a first-come, first-served basis. Wheelchairs carried in the cabin
       of the aircraft will be brought to the front of the aircraft after all other passengers have deplaned.
    3) Essential Infant or Child Items - Child restraint devices, car seats, strollers, diaper bags, and other
       essential baby items when the infant is traveling. These items must be packed separately, in protective
       packaging, for baggage fees to be waived.
 C. Acceptable Baggage - Frontier will accept for transportation as baggage such personal property necessary or
    appropriate for the wear, use, comfort, or convenience of the passenger for the purpose of the trip, subject
    to the following:
    1) Checked Baggage Size and Weight:
        a) Excess baggage charge will be applied to any checked baggage that exceeds the standard weight or
           dimension. Standard baggage size is defined as maximum of 62 inches (157 cm) in linear dimension
           (height plus length plus width).
            Standard baggage weight is defined as:
               –   For tickets purchased before January 18, 2022, maximum of 50 pounds (22.6 kilograms).
               –   For tickets purchased on or after January 18, 2022, and travel completed before March 1,
                   2022, maximum of 50 pounds (22.6 kilograms).
               –   For tickets purchased on or after January 18, 2022, and travel on or after March 1, 2022,
                   maximum of 40 pounds (18.1 kilograms).
        b) Baggage weighing 100 or more pounds (45 kilograms) or exceeding 110 linear inches will not be
           accepted, with the exception of assistive devices or musical instruments.
    2) The TSA website maintains a list of items that passengers are not permitted to check in baggage. See
       www.tsa.gov for a complete list. Baggage containing any items on that list will not be accepted.

Checked Baggage                                                                                        Pg. 12 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 43 of 55



CONTRACT OF CARRIAGE                                                                               Rev83 04/10/23

     3) An item for transportation not suitably packaged to withstand ordinary handling and turbulence, or of a
        size, weight, or character that renders it unsuitable for transportation will not be accepted.
     4) The passenger is responsible for ensuring that all items packed in checked baggage are properly
        packaged and padded to resist handling and turbulence. (Refer to section 16. )
     5) All baggage is subject to inspection by Frontier. Frontier is not, however, obligated to perform an
        inspection. Frontier will refuse to transport or will remove baggage if the passenger refuses to submit the
        baggage for inspection.
     6) Frontier will not accept baggage or other personal property for storage.
     7) Frontier will check baggage only when the passenger presents a valid ticket for transportation on the
        applicable flight.
     8) The passenger's name, address, and telephone number must appear on the baggage.
     9) Frontier has the right to refuse to transport baggage on any flight other than the one carrying the
        passenger.
     10) Baggage will not be checked:
         a) To a point that is not reflected on the passenger's ticket.
         b) Other than the passenger's destination on the applicable flight, but if the flight is a connecting flight,
            to the final destination, but if that connecting flight is scheduled to depart from an airport different
            from the one at which the passenger is scheduled to arrive then only to the destination of the first leg.
     11) Live animals are not accepted as checked baggage.
     12) Agricultural items, perishable items, or products that do not conform with customs or agricultural
         government law at the flight's destination will not be accepted.
     13) Frontier will not accept for carriage any restricted/hazardous materials as defined in the DOT Hazardous
         Materials Regulations (49 C.F.R. §§ 171-177) and IATA Dangerous Goods Regulations. Examples of such
         goods are (i) liquor products over 140 proof, (ii) gasoline-powered tools, (iii) compressed gases, (iv)
         corrosives (such as acids and wet batteries), (v) explosives (such as dynamite and fireworks), (vi)
         flammables (such as matches and lighter fuels), (vii) poisons, and (viii) magnetic and radioactive
         materials. Electronic smoking devices (commonly referred to as e-cigarettes or personal vaporizers) pose
         a safety risk and are not permitted in checked baggage. These items are permitted in carry-on baggage.
         Spare lithium batteries are not allowed in checked baggage.
     14) Perishable items must be packaged properly such that they cannot leak through their packaging. (Refer
         to section 16. )
  D. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.

13. Carry-On Baggage

  A. Passengers are permitted up to two carry-on items:
     1) One free personal item not larger than 8" x 14" x 18" (20 cm x 35 cm x 45 cm) that must fit within the
        personal item portion of the bag sizer.




Pg. 13 of 25                                                                                      Carry-On Baggage
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 44 of 55



CONTRACT OF CARRIAGE                                                                            Rev83 04/10/23

     2) One carry-on item not larger than 10"H x 16"W x 24"L (25 cm x 40 cm x 114 cm) and weighing not more
        than 35 pounds (15 kilograms) that may be placed in the overhead compartment or under the seat. A fee
        for the carry-on item may apply based on the ticket type purchased. Active U.S. military personnel, with
        Common Access Card (CAC), may take a carry-on item free of charge for all types of tickets.
     3) The size and weight of an item may be measured using manual or automated methods. If a bag sizer is
        used, items must fit completely into the applicable portion, including any wheels and handles, and
        without the passenger using undue force, as determined at Frontier’s sole direction. If an item exceeds
        allowed dimensions, the item may be gate checked or considered to be a carry-on item, in each case to
        which the applicable fee will apply. Any fees owed may be unilaterally charged by Frontier using the card
        or other method of payment that is on file with Frontier.
  B. The TSA website maintains a list of items that passengers are not permitted to carry onboard an aircraft. See
     www.tsa.gov for a complete list. Carry-on items containing any items on that list will not be accepted.
  C. The passenger is responsible for all items brought on board the aircraft. Items must be stored under a seat
     or in the overhead compartment.
  D. Use of Portable Electronic Devices (PEDs)
     1) Small authorized PEDs are devices under 2 pounds and are of a size that can easily be placed in a seat
        pocket along with the other materials that are normally found in the seat pocket (Passenger Safety
        Information Card, Menu or airsickness bag). They include devices like tablets, readers, and mobile
        phones and may be used during all phases of flight when in airplane mode including taxi, takeoff, and
        landing. However, if using them during taxi, takeoff, and landing, you must secure these devices by
        holding them, putting them in your pocket or holster, or placing them in a seatback pocket.
     2) Large authorized PEDs are devices 2 pounds or more such as full-size laptops. They must be turned off
        and stowed during taxi, takeoff, and landing. You may stow them under the seat in front of you or in an
        overhead compartment. These devices may be used above 10,000 feet when authorized by a Flight
        Attendant announcement.
     3) On all flights operating outside U.S. airspace, PEDs cannot be used during taxi, takeoff, and landing, but
        may be used in airplane mode above 10,000 feet when authorized by a Flight Attendant announcement.
  E. Sound Emitting Devices - Portable electronic devices that emit sound (e.g., music or video players or games)
     may be used only with headphones and provided the sound, even via the headphones, cannot be heard by
     others.
  F. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.

14. Conditions and Charges for Special Items

 The following items are accepted as checked or carry-on baggage, subject to the conditions specified and
 payment of applicable fees.
   NOTE: Refer to the Sports Equipment and Special/Fragile Items chart hosted at www.FlyFrontier.com for other
         items which have specific packaging or other requirements which need to be met in order to be
         transported by air. All items listed on the Sports Equipment and Special/Fragile Items chart are subject
         to baggage fees. Baggage fees for excess, oversize, and overweight are cumulative and all may be
         assessed on one item.
  A. Firearms -- Firearms are accepted as checked baggage on flights within the United States, but not
     international flights. Carriage of any firearm is subject to the following conditions:

Conditions and Charges for Special Items                                                             Pg. 14 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 45 of 55



CONTRACT OF CARRIAGE                                                                               Rev83 04/10/23

     1) In accordance with federal law, a passenger who presents baggage that contains a firearm must (i)
        ensure the firearm is unloaded, (ii) pack the firearm in a lockable, hard-sided container, (iii) declare the
        firearm unloaded at the time of check-in, and (iv) sign a “Firearms Unloaded” declaration.
     2) If the firearm is in a locked, hard-sided container INSIDE a piece of checked baggage, the declaration
        must be placed inside the checked baggage and proximate to, but not inside of, that container.
     3) If the firearm is in a locked, hard-sided container, but NOT INSIDE a piece of checked baggage, the
        declaration must be placed inside the container.
     4) After screening, the passenger must lock the firearm container and retain the key or combination.
     5) The passenger must make arrangements for and assume full responsibility for complying with any
        applicable laws, customs and government regulations, or restrictions of the state or territory to which the
        firearm is being transported.
  B. Ammunition - Ammunition for firearms (whether or not the firearm is also being carried) is accepted as
     checked baggage on flights within the United States, but not international flights, subject to the following
     conditions:
     1) The ammunition must be securely packed in the original manufacturer's packaging, fiber (such as
        cardboard), wood, or metal boxes or other sturdy and durable packaging providing sufficient cartridge
        separation.
     2) Each passenger is allowed up to 11 pounds (4.9 kilograms) of ammunition.
     3) Loaded ammunition clips and magazines must also be securely boxed.
     4) Ammunition may be packed with the firearm.
  C. Live Animals -- Frontier accepts live animals only in the cabin of the aircraft, not as checked baggage. The
     transportation of live animals is subject to fees for carriage and the terms and conditions below.
       EXCEPTION: See separate rules with respect to service animals referred to in 6. Service Animals.
     1) Only the following animals are permitted:
         a) Domestic Flights -- Domesticated dogs, cats, rabbits, guinea pigs, hamsters, or small household birds.
         b) International Flights -- Domesticated dogs and cats.
     2) The passengers carrying the animal are responsible for making arrangements and assuming full
        responsibility for complying with any applicable laws, customs and other governmental regulations,
        requirements or restrictions of the country, state or territory to which the animal is being transported.
     3) The passengers carrying the animal are responsible for paying any import/export fees, duties, or taxes
        that may apply as well as any fines for failing to comply with applicable law.
     4) International - Restrictions for travel with an animal to international destinations vary by country. Frontier
        recommends contacting the appropriate embassy or consulate before purchasing a ticket for travel.
     5) The passengers carrying the animal are responsible for making advance reservations because no more
        than ten pet containers will be accepted per flight.
     6) No passenger may carry more than one pet container.
     7) The animal must remain in a pet container at all times and may not be fed while onboard the aircraft.
     8) The pet container must be large enough for the pet to stand, turn around, and lie down in a natural
        position and fit underneath the seat in front of the passenger.


Pg. 15 of 25                                                             Conditions and Charges for Special Items
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 46 of 55



CONTRACT OF CARRIAGE                                                                              Rev83 04/10/23

     9) The animal may not disrupt other passengers and the passenger must be able to quiet the animal without
        removing it from the container.
     10) The container counts toward the carry-on baggage allowance.
     11) No oxygen will be administered to an animal in the event of an emergency.
  D. Human Remains:
     1) Crematory remains (human or animal) may be transported as carry-on or checked baggage subject to the
        following conditions:
         a) The container must be made of a material such as wood or plastic that can be successfully screened
            by the TSA. If the container cannot be screened, it will not be allowed.
         b) If the container is checked, it must be sufficiently packaged in a well-insulated and sturdy container.
         c) If the container is carried onboard the flight, it counts toward the passenger's carry-on allowance and
            it must meet carry-on baggage dimensions.
     2) Human remains in caskets are not accepted.
  E. Dry Ice (frozen carbon dioxide) -- Dry ice may be carried under the following conditions:
     1) A maximum of 5.5 pounds (2.5 kilograms) of dry ice per passenger is accepted in checked or carry-on
        baggage.
     2) The cooler or package must permit the release of carbon dioxide gas. Styrofoam containers are not
        accepted.
  F. Bicycle - Bicycles may be carried under the following conditions:
     1) The handlebars must be fixed sideways, and the pedals removed or wrapped in plastic foam or similar
        material and the entire bicycle is encased in a hard-sided case.
     2) Bicycles may only be carried as checked baggage.
     3) A fee applies for each bicycle checked as baggage.
     4) Bicycles are excluded from baggage liability unless packaged in a hard-sided case.
  G. Special Items - The following items may exceed carry-on baggage dimensions but may be taken as a carry-on
     item (and count toward the carry-on bag allowance) as long as they fit in the overhead bin: fishing rods, tennis
     rackets, wedding attire, poster tubes, and musical instruments. If any such items are comprised of more than
     one piece, they must be packaged together to be considered one item. The carry-on bag fee applies.
  H. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.

15. Limitations of Liability

  A. Consequential Damages – Unless it is specifically stated otherwise in this Contract of Carriage, or as required
     by any applicable law, Frontier is not liable for any indirect, special, or consequential damages arising out of
     or resulting from transportation provided, delay in transportation, or any failure to provide transportation.




Limitations of Liability                                                                                Pg. 16 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 47 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23

  B. International Transportation – With respect to international transportation, as defined in the following
     referenced conventions, as applicable, Frontier’s liability will be limited as specified in, as and if applicable,
     (i) the Convention for the Unification of Certain Rules Relating to International Carriage by Air signed at
     Warsaw, October 12, 1929, as amended (“Warsaw Convention”), but subject to the Agreement entered into
     by Frontier pursuant to 14 C.F.R. Part 203 or (ii) the Convention for the Unification of Certain Rules for
     International Carriage by Air, signed at Montreal, May 28, 1999 (“Montreal Convention”).

16. Claim Limits and Procedures

  A. Limitations of Liability
     1) Domestic Flights – With respect to domestic flights (i.e., those flights originating and ending within the
        United States) without any scheduled stops outside of the United States, or international flights to which
        neither the Warsaw Convention or the Montreal Convention apply, Frontier’s limit of liability, if any, for the
        loss, damage or delay in the carriage of checked baggage shall be limited to $3,800 for all bags checked
        under a single ticketed passenger’s name. Frontier will not be liable for:
         i)    The following items included in checked baggage, with or without the knowledge of Frontier:

               • alcohol                         • dentures                          • natural fur products
               • antiques                        • drugs prohibited by federal       • negotiable papers/
               • art, paintings                    or state law                        instruments
               • art supplies                    • DVDs                              • optics
               • artifacts                       • eyeglasses                        • orthodontics
               • bags made from lightweight      • files                             • orthotics
                 material not designed for       • food/perishables                  • photographic/video/
                 shipping                        • fragile articles or other           electronic equipment and
               • blueprints                        similar valuable items and          accessories
               • books                             commercial effects                • precious metals or stones
               • business documents              • hand and power tools              • publications
               • CDs                             • heirlooms                         • samples
               • cell phones                     • irreplaceable items               • securities
               • Cigars, cigarettes,             • jewelry                           • silverware
                 electronic cigarettes, vape     • keys                              • sound reproduction
                 pens                            • machinery and its parts             equipment
               • collectibles                    • manuscripts                       • sunglasses
               • computer equipment              • medication                        • surgical supports
                 (including hardware,            • money                             • toys
                 software and all
                 accessories)

         ii) Articles strapped, taped, or tied to other pieces of baggage, which may become separated as a result
             of normal handling during transportation
         iii) Damage to the following items when not packed in a hard-sided case or other packing that is suitable
              for the item:
                  • Prosthetic devices
                  • Medical equipment
                  • Musical instruments

Pg. 17 of 25                                                                           Claim Limits and Procedures
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 48 of 55



CONTRACT OF CARRIAGE                                                                               Rev83 04/10/23

               • Recreational or sporting equipment
               • Baby items including car seats and strollers
        iv) Damage to handles, straps, wheels, and zippers arising from normal wear and tear caused by
            ordinary handling of baggage
        v) Damage arising from ordinary wear and tear, such as cuts, scratches, scuffs, stains, dents,
           punctures, marks, and dirt
        vi) Damage resulting from over-packing or misuse
        vii) Damage arising from liquids on or in baggage; including weather (e.g., rain, snow)
    2) International Flights/Montreal Convention – With respect to international flights to which the Montreal
       Convention applies, Frontier’s limit of liability, if any, for the loss, damage or delay in the carriage of
       baggage (whether checked or carry-on) shall be limited to 1,288 Special Drawing Rights per ticketed
       passenger. The conversion rate, available at www.imf.org, in effect on the date of loss will be used for
       determining maximum liability amount.
    3) International Flights/Warsaw Convention – With respect to international flights to which the Warsaw
       Convention applies, Frontier’s limit of liability, if any, for the loss, damage or delay of (i) checked baggage
       shall be limited to 17 Special Drawing Rights per pound, or actual value, whichever is less, (ii) carry-on
       baggage shall be limited to 332 Special Drawing Rights or actual value, whichever is less. The conversion
       rate, available at www.imf.org, in effect on the date of loss will be used for determining maximum liability
       amount. Absent evidence to the contrary, bags will be presumed to weigh 20 pounds.
    4) Frontier does not accept declarations of higher value or accept fees based on such declarations.
    5) Subject to the above specified limits of liability, Frontier will compensate a passenger whose baggage has
       been lost, damaged or delayed for reasonable, documented direct damages up to the specified limit of
       liability, provided the passenger has made reasonable effort to minimize the amount of damage and
       provided documentation of the loss. The compensation due for lost or damaged property will be
       determined by the lesser of the documented original purchase price less applicable depreciation or the
       cost to make repairs.
    6) Frontier’s liability for wheelchairs, mobility aids, and assistive devices used by a passenger with a
       disability if lost or damaged by Frontier shall be up to the original purchase price of the device without
       regard to the above limitations of liability.
    7) Passengers who incur incidental expenses as a result of delayed baggage delivery will be reimbursed per
       established DOT guidelines, subject to the above limitations of liability (as applicable). Any amounts paid
       to the passenger for incidental expenses will be deducted from the total loss amount prior to check
       issuance.
    8) Frontier will not be liable for loss or damage to carry-on baggage unless such damage is caused by
       Frontier’s or its agent’s negligence, which does not include damage resulting from turbulence, shifting of
       items during flight, or ordinary handling, including placing the baggage in overhead compartments or
       under seats.
    9) Frontier’s employees and agents are not liable to passengers.
  B. Time Limit to Make Claims and Procedures




Claim Limits and Procedures                                                                             Pg. 18 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 49 of 55



CONTRACT OF CARRIAGE                                                                                 Rev83 04/10/23

     1) With respect to domestic flights and those international flights to which the Montreal Convention does
        not apply, any claim based on damage, delay, or loss of baggage must be reported to Frontier within 4
        hours of the arrival of the flight on which the loss or damage is claimed to have occurred. Claims for
        pilferage may be made up to 24 hours after flight arrival. Any documentation required to support the claim
        must be submitted within 30 days from the date the requesting passenger receives the claim form packet
        from Frontier; Frontier will not be liable if the completed claims are not submitted, with documentation,
        within that time period.
     2) With respect to international flights to which the Montreal Convention applies, in the case of baggage
        damage, the person entitled to delivery must submit in writing to Frontier as soon as possible after
        discovery of the damage, and at the latest in writing 7 days from receipt of checked baggage and in the
        case of delay or loss, complaints must be made at the latest within 21 days from the date on which the
        baggage has been placed at the passenger’s disposal or should have been placed at the passenger’s
        disposal in the case of loss. All claims must be made in writing and must be accompanied by supporting
        documentation. Any subsequent request for documentation from Frontier must be provided to Frontier
        within 21 days of the request.

17. Failure to Operate on Schedule or Failure to Carry

  A. Liability Limited - Frontier will use reasonable efforts to transport passengers and baggage to the purchased
     destination, but published schedules, flight times, aircraft types, seat assignments, and similar details set
     forth in the ticket or Frontier’s published schedules are not guaranteed and form no part of this Contract of
     Carriage. Frontier may substitute alternate aircraft, change schedules, delay or cancel flights, change seat
     assignments, and alter or omit stopping places shown on the ticket as required by its operations in Frontier’s
     sole discretion. Frontier’s obligations for failure to operate any flight, failure to operate a flight according to
     its schedule, or for changing the schedule or type of equipment used on any flight, with or without notice to
     the passenger, are set forth below.
  B. Force Majeure - In the occurrence of a force majeure event, Frontier may cancel, divert, or delay any flight
     without liability except to provide a refund for the unused portion of the ticket.
  C. Delay, Misconnection, or Cancellation - In the event (i) a passenger's flight is canceled, (ii) a passenger is
     denied boarding because an aircraft with lesser capacity is substituted, (iii) a passenger misses a connecting
     Frontier flight due to a delay or cancellation of a Frontier flight (but not flights of other carriers), (iv) a
     passenger is delivered to a different destination because of the omission of a scheduled stop to which the
     passenger held a ticket, to the extent possible, Frontier will provide transportation on its own flights at no
     additional charge to the passenger’s original destination or equivalent destination as provided herein.
     Frontier will have no obligation to provide transportation on another carrier. If Frontier cannot provide the
     foregoing transportation, Frontier shall, if requested, provide a refund for the unused portion of the
     passenger's ticket in lieu of the transportation under the foregoing. The foregoing shall be the limit of
     Frontier's liability for the matters covered by this provision.
  D. For purposes of involuntary reroute (a diversion), use this link https://www.flyfrontier.com/travel/travel-info/
     travel-policies#same-day-flight-changes and see under the title Same Day Flight Changes section of the
     flyfrontier.com page for the groups of cities that are considered to be the same point. If Frontier is able to
     provide transportation to one of the specified alternative cities, Frontier has met its obligation for transport
     to the final destination.
  E. Schedule Change Prior to Day of Travel -- When a passenger’s itinerary is changed because of a modification
     in Frontier’s schedule, arrangements will be made to:


Pg. 19 of 25                                                     Failure to Operate on Schedule or Failure to Carry
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 50 of 55



CONTRACT OF CARRIAGE                                                                              Rev83 04/10/23

     1) Transport the passenger over its own route system to the destination; or
     2) In the event Frontier determines that the schedule modification is significant, Frontier shall, if requested,
        provide passengers a refund of the cost of the unused portion of the ticket.
 F. Extended Onboard Ground Delays -- In accordance with FAA regulations, Frontier maintains and complies with
    a separate Contingency Plan for Lengthy Tarmac Delays. Frontier's Contingency Plan for Lengthy Tarmac
    Delays may be found on Frontier's website at 
    https://az832049.vo.msecnd.net/media/1567/f9-contingency-plan-for-extended-tarmac-delays-2015.pdf.
    Frontier's Contingency Plan for Lengthy Tarmac Delays is subject to change without notice and is not part of
    this Contract of Carriage.

18. Denied Boarding Compensation
 When a seat cannot be provided due to an inadequate number of seats for the number of passengers holding
 confirmed reservations (overbooking), the actions described in this section will be taken.
 A. Voluntary -- Passengers on a flight with an overbooking will be encouraged to voluntarily relinquish their seats
    in exchange for alternate travel and for compensation in the form of an Electronic Travel Voucher for future
    transportation to be booked within 365 days on Frontier. The request and selection of volunteers will be in a
    manner determined solely by Frontier.
 B. Involuntary -- If insufficient passengers volunteer, passengers who cannot be accommodated on the flight will
    be denied boarding and Frontier will provide transportation on a Frontier flight to the same destination. After
    a passenger’s boarding pass is collected or scanned and accepted by the gate agent, and the passenger has
    boarded, a passenger may be removed from a flight only for safety or security reasons or in accordance with
    Section 3 of this Contract of Carriage.
 C. Amount of Compensation -- Frontier will compensate a passenger for involuntary-denied boarding based on
    the new arrival time after the originally scheduled arrival time as follows:

            Domestic                           International                           Compensation
 New arrival time within :59         New arrival time within :59          No Compensation
 New arrival time within 1 - 1:59    New arrival time within 1 - 3:59     200% (2x) of the one-way fare, not to
                                                                          exceed $775
 New arrival time 2 hours or more    New arrival time 4 hours or more     400% (4x) of the one-way fare, not to
                                                                          exceed $1550

       NOTE 1:     Frontier is not obligated to provide compensation for denied boarding when an aircraft of
                   lesser capacity is substituted due to operational or safety reasons.
       NOTE 2:     No compensation will be due if boarding is denied for reasons other than overbooking (e.g.,
                   pursuant to applicable law or other provisions of this Contract of Carriage).
 D. Onward Transportation for Passengers Denied Boarding
     1) A passenger denied boarding, voluntarily or involuntarily, pursuant to this section, will be transported on
        Frontier’s next available flight on which space is available and at no additional charge.
     2) If a passenger who has been denied boarding, voluntarily or involuntarily, pursuant to this section, wishes
        to modify the travel date, if space is available, a ticket will be provided for travel within 72 hours at no
        additional charge.


Denied Boarding Compensation                                                                            Pg. 20 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 51 of 55



CONTRACT OF CARRIAGE                                                                              Rev83 04/10/23

  E. Electronic Travel Voucher
     1) Involuntary Denied Boarding - Frontier may offer passengers denied boarding involuntarily an Electronic
        Travel Voucher good for transportation on Frontier in lieu of cash compensation otherwise due under this
        section. Passengers may decline such offer in favor of the applicable cash compensation. The Electronic
        Travel Voucher has no refund value, will expire 365 days from date of issuance, is not transferable, cannot
        be applied to group travel (more than nine passengers on a booking), and may be used towards a booking
        with multiple people as long as the passenger to whom it is issued is present in the same booking.
        Electronic Travel Vouchers can be applied to ancillary services (e.g., seats, baggage), fees, and taxes. If a
        ticket purchased with an Electronic Travel Voucher costs less than the amount of the voucher, no residual
        value remains. Changes to a ticket purchased with an Electronic Travel Voucher may result in a change
        fee and any additional fare difference based on the rules of the issued ticket.
     2) Voluntary Denied Boarding - Frontier may offer passengers who volunteer for denied boarding an
        Electronic Travel Voucher good for transportation on Frontier. The Electronic Travel Voucher has no refund
        value, will expire 365 days from date of issuance, is not transferable, cannot be applied to group travel
        (more than nine passengers on a booking), and may be used towards a booking with multiple people as
        long as the passenger to whom it is issued is present in the booking. Electronic Travel Vouchers can be
        applied to ancillary services (e.g., seats, baggage) and fees; no taxes will be covered by the Electronic
        Travel Voucher. If a ticket purchased with an Electronic Travel Voucher costs less than the amount of the
        voucher, no residual value remains. Changes to a ticket purchased with an Electronic Travel Voucher may
        result in a change fee and any additional fare difference based on the rules of the issued ticket.
  F. Time of Offer and Payment of Compensation
     1) The offer of compensation for overbooking will be made by Frontier on the day and at the place where the
        failure to provide confirmed space occurred. If accepted, compensation will be given to the passenger. If
        the alternative transportation arranged for the passenger's convenience departs before the payment can
        be made, payment will be made by mail or other means within 24 hours after the denied boarding occurs.
     2) Acceptance of any Denied Boarding Compensation constitutes full compensation for damages incurred
        by the passenger as a result of Frontier's failure to provide the passenger with a confirmed seat.

19. Refunds; No-Show Cancellations and Service Charges

  A. The provisions of this Section (20.A) shall apply with respect to refunds for tickets under this Contract of
     Carriage:
     1) All refunds will be subject to government laws, rules, regulations, or orders of the country in which the
        ticket was originally purchased and of the country in which the refund is being made.
     2) The first portion of any amount refunded will be the full amount of government-imposed taxes and fees,
        as well as certain carrier charges applied to the ticket purchase.
     3) If applicable, cancellation fees or service charges will be assessed in a separate transaction and netted
        against the refunded amount.
     4) No Use - If no portion of the ticket has been used, the refund amount will be equal to the fare, plus any
        ancillary purchases (checked or carry-on bag, seat assignments, etc.), all government-imposed charges,
        taxes, and fees, and certain carrier charges paid for the ticket issued to the passenger.
     5) Partial use - If a portion of the ticket has been used:



Pg. 21 of 25                                               Refunds; No-Show Cancellations and Service Charges
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 52 of 55



CONTRACT OF CARRIAGE                                                                                Rev83 04/10/23

          a) One-way ticket: If travel was terminated at an intermediate or stopover point, the refund amount will
             be equal to the amount of the fare and all ancillary purchases (checked or carry-on bag, seat
             assignments, etc.) paid from the point of termination to the destination or to the point at which
             transportation is to resume and will be the lowest one-way fare for the class of service paid for minus
             any discount, plus all government-imposed charges, taxes, and fees and certain carrier charges, as
             proportionately attributable, which shall be reasonably determined by Frontier.
          b) Round-trip ticket purchased: the refund amount will be equal to the amount of the fare and ancillary
             purchases (checked or carry-on bag, seat assignments, etc.) paid on the unused portion of the ticket,
             plus all government-imposed charges, taxes, and fees and certain carrier charges, as proportionately
             attributable, which shall be reasonably determined by Frontier.
  B. In addition to the provisions of Section 20.A, in situations other than No-Show Cancellations, the provisions
     of this Section (20.B) shall apply with respect to refunds for tickets under this Contract of Carriage:
     1) For refundable tickets that are canceled prior to flight departure, passengers should fill out an online
        request, available at www.FlyFrontier.com.
     2) For tickets that are canceled up to 24 hours after the time of purchase (excluding tickets purchased within
        seven days before travel, which will be held as a credit, less the applicable cancellation fee and certain
        carrier charges), passengers should cancel their tickets online at www.FlyFrontier.com.
     3) Payment - A refund will be provided only to the original purchaser's form of payment. However, if, at the
        time of the application for refund, evidence is submitted that a company purchased the ticket on behalf
        of its employee or a travel agency has made a refund to its client, the refund will be made directly to the
        employee's company or the travel agency. The Table below illustrates other rules respecting payment:

   Payment Type                                Refunded To
   Universal Air Travel Plan                   The subscriber against whose account the ticket was charged
   Transportation Request issued by a          The government agency that issued the transportation request
   government agency other than a U.S.
   government agency
   U.S. Government Transportation              The U.S. government agency that issued the U.S. Government
   Request                                     Transportation Request with a check payable to the “Treasurer
                                               of the United States”
   Card                                        The account of the person to whom the credit or debit card was
                                               issued
   Electronic Travel Voucher                   The original voucher value will be reinstated if the cancellation is
                                               within 90 days of the voucher issue date

     4) Identity - Frontier does not assume responsibility to confirm that the person using or presenting a ticket
        for refund is the true owner of the ticket.
  C. In situations involving a No-Show Cancellation, in addition to the provisions of Section 20.A, the provisions of
     this Section (20.C) shall apply with respect to refunds for tickets under this Contract of Carriage.
     1) Automatic Refund; No Additional Submission Required – In the case of a No-Show Cancellation, the
        refund described in Section 20.A shall be automatically refunded to the purchaser.
     2) Automatic Imposition of a No-Show Cancellation Service Charge.


Refunds; No-Show Cancellations and Service Charges                                                       Pg. 22 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 53 of 55



CONTRACT OF CARRIAGE                                                                              Rev83 04/10/23

         a) Refund – The refund described in Section 20.A shall be given, but will be netted against the No-Show
            Cancellation Service Charge in a separate transaction.
         b) Imposition of a No-Show Cancellation Service Charge – A No-Show Cancellation Service Charge will
            apply with respect to the ticket (or the segment for which the No-Show Cancellation applies) in the
            amount of the fare plus all ancillary purchases plus all government-imposed charges, taxes and fees
            and certain carrier charges attributable to the fare and ancillary purchases.
         c) The payment of the No-Show Cancellation Service Charge shall not entitle the purchaser (and, if
            different, the passenger or other party to whom a refund would otherwise be due) to transportation.
  D. To the extent required by applicable law, including Code § 6415(a) and the regulations promulgated
     thereunder, the purchaser (and, if different, the passenger or other party to whom a refund would otherwise
     be due) hereby consents to Frontier recovering any allowance of a credit or refund of any overpayment of
     governmental fees or tax imposed, including pursuant to Code § 4261, including in each case which
     overpayment arises directly or indirectly as a result of a No-Show Cancellation as contemplated in this
     Contract of Carriage.

20. Currency and Mode of Payment and Fees

  A. Fares, fees, charges, and taxes charged or collected by Frontier are due in United States dollars, except for
     bookings made through available Canadian online travel sites, which are due in Canadian dollars. Any
     purchases made in connection with such bookings would also be due in Canadian dollars.
  B. All amounts due to Frontier must be paid with a credit or debit card; Frontier may require that each passenger
     have a card on file with Frontier to purchase a ticket and complete transport on Frontier. Frontier does not
     accept cash for any transactions, including those on Frontier's aircraft, except that Frontier may accept cash
     at certain international locations.
  C. Frontier does not accept personal checks, traveler's checks, certified (cashier's) checks, or money orders.
  D. A service charge will apply to any improper chargeback on a credit or debit card and may be charged to the
     same card via which the chargeback is made.

21. Miscellaneous

  A. Subordination to Law - In all cases, this Contract of Carriage will be subordinate to any applicable law.
  B. Metric References - Conversion of British units to metric units are approximate and for reference only. The
     British unit will apply.
  C. Change Without Notice - Except as may be required by applicable laws, government regulations, orders, and
     requirements, Frontier reserves the right to amend this Contract of Carriage without notice, provided that no
     such change shall apply to carriage that has commenced.
  D. No Waiver/Modification of Terms - No employee or agent of Frontier has the authority to waive, modify, or alter
     any provisions of the Contract of Carriage unless authorized by a corporate officer of Frontier.
     Accommodations provided beyond what is required by the Contract of Carriage do not alter the Contract of
     Carriage. Frontier's employees and agents, including third party travel agents and online travel sites, are only
     authorized to sell tickets for air transportation on Frontier subject to the Contract of Carriage.




Pg. 23 of 25                                                            Currency and Mode of Payment and Fees
Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 54 of 55



CONTRACT OF CARRIAGE                                                                                 Rev83 04/10/23

  E. Changes in Rules, Fares, and Charges - Unless otherwise provided within specific fare rules, transportation
     is subject to the rules, fares, and charges in effect on the date a ticket is issued, determined by the validation
     stamped or imprinted on the ticket, or valid electronic ticket.
  F. Use of Images - Passengers (or in the case of minors, their parents or legal guardians) consent to the unpaid
     use of any photos, videos, or other images taken of them by or for Frontier, for advertising or marketing
     purposes.
  G. Taxes and Charges - When the ticket is issued for the effective date, all government, airport, vendor, or other
     charges that apply to passenger travel into foreign countries are the responsibility of the passenger to whom
     the ticket was originally issued and are in addition to the published fare and charges.
  H. Fares/Charges - Specific fares and charges information is available through Frontier reservations offices and
     at www.FlyFrontier.com.
  I. No Class Action - Any case brought pursuant to this Contract of Carriage, Frontier’s Tarmac Delay Plan, or
     Frontier’s Customer Service Plan may be brought in a party's individual capacity and not as a plaintiff or class
     member in any purported class or representative proceeding.
  J. Time Limit for Action - No legal action may be brought by a passenger against Frontier unless commenced
     within 6 months from the date of the alleged incident.
  K. Choice of Law - This Contract of Carriage will be governed by and construed in accordance with the laws of
     the United States of America and the State of Colorado without regard to conflict of law principles or law. All
     right to trial by jury in any action, proceeding or counterclaim arising out of or in connection with this Contract
     of Carriage is irrevocably waived.
  L. Codeshare Flights – Except for baggage policies (see section 12. , section 13. , and section 14. ), the policies,
     rules, and procedures of the operating airline will apply on any codeshare flight.

22. Contingency Plan for Extended Tarmac Delays
 The safety of our passengers is our #1 priority at Frontier Airlines. With that in mind, Frontier works hard to avoid
 extended tarmac delay situations. However, occasionally these situations do arise. Frontier maintains a plan to
 resolve the extended tarmac delays as quickly as possible as well as mitigating the impact and inconvenience to
 our passengers.
 For all flights that remain at the gate or other disembarkation area with the main cabin door open 30 minutes
 after scheduled departure time (including any revised departure time that passengers were notified about
 before boarding) from which there is an opportunity to deplane, Frontier will notify passengers that they have the
 opportunity to deplane from the aircraft and repeat that notice at least every 30 minutes thereafter while that
 opportunity continues to exist.
  A. For all flights that have departed from a gate without taking off or after a flight has landed without arriving
     at a gate (“Delay”), Frontier will notify passengers of the status of the Delay every 30 minutes while the aircraft
     is Delayed, including the reasons for the Delay, if known.
  B. No later than 120 minutes after a Delay begins, Frontier will ensure that all passengers have been afforded
     the opportunity to receive food and water, unless the pilot-in-command determines that safety or security
     considerations preclude such service.
  C. At 150 minutes (210 for international flights) after a delay begins, unless the pilot in command deems that
     departure is imminent, Frontier will look to return the aircraft to a gate or move to a remote parking location
     where passengers can be afforded the opportunity to deplane.


Contingency Plan for Extended Tarmac Delays                                                               Pg. 24 of 25
   Case 1:24-cv-23772-PCH Document 6 Entered on FLSD Docket 10/08/2024 Page 55 of 55



CONTRACT OF CARRIAGE                                                                                  Rev83 04/10/23

  D. By no later than 180 (240 for international flights) minutes after a Delay begins Frontier will return the aircraft
     to a gate or other location where passengers will have the opportunity to deplane, unless:
  E. The pilot in command determines there is a safety related or security related reason (e.g., weather, a directive
     from an appropriate government agency) why the aircraft cannot leave its position on the tarmac to deplane
     passengers; or
  F. Air traffic control advises the pilot in command that returning to the gate or another disembarkation point
     elsewhere in order to deplane passengers would significantly disrupt airport operations.
  G. During any Delay, Frontier will ensure that a comfortable temperature is maintained throughout the
     passenger cabin.
  H. During any Delay, Frontier will ensure access to medical attention is available to meet all requests, including
     the use of a third-party medical consultation service.
  I. During any Delay, Frontier will ensure that operable lavatory facilities are available provided the pilot-in-
     command determines that it is safe and secure for passenger to move about the aircraft cabin.
  J. At each airport where Frontier flies, including diversion airports, this plan has been coordinated with airport
     authorities, Customs & Border Protection, and the Transportation Security Administration.
  K. Frontier has ensured that it has adequate resources available to administer this plan.
 Frontier would also like our passengers to be aware of certain the following that will apply in the case of a Delay:
  A. If a flight returns to a gate or diverts from its planned destination, in most cases, the delayed or diverted flight
     will attempt to continue to its final destination. The right to deplane in such cases will be determined in
     accordance with the above.
  B. Frontier maintains information and arrangements with both airports and other airlines to secure additional
     gate space if needed during a tarmac delay. If allowed by the airport, the deplaning of passengers may take
     place when it is safe and secure to do so, either at a gate or at an approved remote parking position via stairs
     and ground transportation.
  C. Any passengers who choose to deplane from a flight that has experienced a delay and make alternative travel
     arrangements may do so when it is determined to be safe and secure, after the aircraft has been moved into
     position for deplaning, all operational requirements for deplaning have been completed, and the pilot-in-
     command has allowed customer deplaning to begin.
  D. Passengers should be aware that if they choose to deplane, they do so at their own risk and the flight may
     depart without them. Frontier will make reasonable attempts, e.g., via airport announcements, to
     communicate the new departure time of the flight. In cases where an aircraft that has returned to a gate,
     passengers may be advised how long the aircraft will remain at the gate to determine how much time (if any)
     passengers may spend inside the terminal prior to having to re-board the aircraft for the continuation of the
     flight. Such time may, however, be shorted in which case an announcement will be made to return to the
     aircraft.
  E. Passengers who choose to deplane and/or make alternative travel arrangements should be aware that on
     most domestic flights their checked baggage will remain on the aircraft. In cases where a flight returns to the
     gate and is canceled baggage will be returned to the baggage claim area.
  F. In instances where passengers are permitted to deplane at a remote aircraft parking position, reboarding the
     aircraft may not be possible.




Pg. 25 of 25                                                         Contingency Plan for Extended Tarmac Delays
